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                           IN THE UNITED STATES DISTRICT COURT                                                  CJi_i
                          FOR THE SOUTHERN DISTRICT OF GEORGIA                                        .r',JNSWICK Dlv .
                                    BRUNSWICK DIVISIO N
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UNITED STATES OF AMERIC A

                                                                      CASE NO . : CR205-3 4
                  V.

MOHAMMED SHAUKAT JAMAL
ASHISKUMAR G . PATEL
HERMANT K . PATEL
YOGESHUMAR PATEL
SANJAYKUMAR A . PATEL


                 MAGISTRATE JUDGE'S REPORT AND RECOMMENDATIO N

         Defendant Sanjaykumar A . Patel ("Patel") is charged with conspiracy, in violation of

18 U .S.C .A . §§ 2 and 371, and use of fraudulent immigration documents, in violation of 18

U .S .C .A. §§ 2 and 1546(a) . Patel filed a Supplemental Motion to Suppress, and the

Government responded . The undersigned conducted an evidentiary hearing on October25,

2005, at which Agent Scott McCormack, Senior Special Agent for the Department of

Homeland Security, Immigration and Customs Enforcement ("ICE"), testified .

                                            FINDINGS OF FAC T

        The credible testimony at the evidentiary hearing established the following :

        Patel, a native of India, has lived in the United States since 1999 .1 On August 3,

2005, ICE agents detained and arrested Patel during a sweep of convenience stores . Patel

worked at the convenience stores eleven hours per day, six days per week . Agents



1 Patel's native language is Gujarati . At defense counsel's request, the Court provided Patel with an interpreter
during the evidentiary hearing .
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processed Patel in Savannah, Georgia, for immigration violations . While in ICE's custody,

Agent McCormack asked Patel several opening questions and read him his . Miranda rights

in English . Agent McCormack has been employed by ICE and its predecessor, the

Immigration and Naturalization Service, since 1991 . Agent McCormack was notfamiliarwith

Patel's native village, his educational background, his formal English education, or the

constitutional protections afforded citizens of India . However, he has conducted thousands

of interviews with non-English speaking individuals and has extensive experience working

with Indian immigrants . In his experience, most Indians learn English in primary and grade

school .

           Using a computer generated form from ICE's booking system, Agent McCormack read

the standard warning regarding Patel's Miranda' rights . Agent McCormack asked Patel if

he understood these rights ; Patel answered affirmatively and expressed a willingness to

answer Agent McCormack's questions . Patel answered Agent McCormack's questions in

English . The answers were responsive to the questions . Agent McCormack determined that

Patel understood his questions and an interpreter was unnecessary . Throughout the

interview, Agent McCormack typed Patel's answers . Agent McCormack asked Patel if he

had ever applied for a work permit from immigration ; Patel answered, "Yes, I gave $4,000

to a Mexican guy and he filed the application for me . I didn't fill any of it out . Dan did, and

I just signed it ." When asked if he was denied the ability to sign an amnesty application in

the 1980s, Patel stated, "No, I wasn't here, and I only got here about six years ago ." In

addition to the questions on the form, Agent McCormack asked Patel if he wanted a hearin g



2 Miranda v . Arizona , 384 U .S . 436, 86 S . Ct
                                                    . 1602, 16 L . Ed .2d 694 ( 1966) .

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before an immigration officer when he served Patel his paperwork and notice to appear ;

Patel indicated that he did not want a hearing .

       ICE held Patel in custody for approximately three hours prior to questioning him .

Agent McCormack conducted his interview in a holding cell with six other agents and other

defendants present . Agent McCormack did not inquire into Patel's understanding of the

United States' justice system nor his understanding of the right to remain silent, but did ask

if he had ever been arrested . Patel signed a printed form containing his Miranda rights and

a copy of his answers at the end of the interview . Patel did not sign a written waiver of his

Miranda rights . Defendant did not testify at the hearing .

                                            ISSUES

       Patel, through counsel, asserts that he speaks "halting English" and could not have

made a knowing, intelligent, and voluntary waiver of his Miranda rights . (Def. Br., p. 4 .)

Defendant contends that "he grew up in India, has a 12th Grade education, and has not

previously encountered law enforcement either at home, or in the U .S." Id . Patel avers that

he did not understand his rights, particularly his right to refuse questions by the investigating

agent, due to a language barrier and a lack of understanding concerning the United States'

justice system .

       The Government asserts that Patel made a knowing, intelligent and voluntary waiver .

The Government argues that Patel's English comprehension is sufficient to have

comprehended his waiver of Miranda rights .




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                          DISCUSSION AND CITATION TO AUTHORIT Y

1.       Defendant Patel 's Asse rtion that Custodial Statements Should be Suppressed .

         "No person . . . shall be compelled in any criminal case to be a witness against

himself[ .]" U .S . CONST . amend . V . "[T]he prosecution may not use statements, whether

exculpatory or inculpatory, stemming from custodial interrogation of the defendant unless it

demonstrates the use of procedural safeguards3 effective to secure the privilege against

self-incrimination ."     Miranda v . Arizona , 384 U .S . 436, 444, 86 S . Ct. 1602, 1612, 16 L .

Ed .2d 694, 707 (1966) . Custodial interrogation means "questioning initiated by law

enforcement officers after a person has been taken into custody or otherwise deprived of his

freedom of action in any significant way ." Id .

        An individual in custody may waive his Miranda rights as long as the waiver is "`made

voluntarily, knowingly, and intelligently ."' Moran v . Burbine , 475 U .S . 412, 421, 106 S . Ct.

1135, 1140-41, 89 L . Ed .2d 410, 421 (1986) (quoting Miranda , 384 U.S . at 444) . A

defendant's waiver encompasses two distinct aspects . Id . "First, the relinquishment of the

right must have been voluntary in the sense that it was the product of a free and deliberate

choice rather than intimidation, coercion, or deception ." Id . ; Hart v. Attorney General for the

State of Florida , 323 F .3d 884, 892 (11th Cir . 2003) . "Second, the waiver must have been

made with a full awareness of both the nature of the right being abandoned and the

consequences of the decision to abandon it ." Moran , 475 U .S. at 421, 106 S . Ct. at 1141 ;

Hart, 323 F .3d at 892 . "[L]anguage may in some instances impair an individuals ability t o


"'Prior to any questioning, the person must be warned that he has a right to remain silent, that any statement
he does make may be used as evidence against him, and that he has a right to the presence of an attorney,
either retained or appointed ." Miranda , 384 U .S . at 444, 86 S . Ct . at 1612 .
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waive his rights in a knowing manner ."4 United States v . Boon San Chong, 829 F.2d 1572,

1574 (11th Cir. 1987) . However, a court may properly conclude that Miranda rights have

been waived , "'[ i]f the totality of the circumstances surrounding the interrogation reveal both

an uncoerced choice and the requisite level of comprehension ." Moran , 475 U . S. at 421,

106 S . Ct. at 1141 (citations omitted ); Hart, 323 F .3d at 892 .

          There is no evidence to indicate that Patel was pressured or deceived into waiving his

Miranda rights . Agent McCormack testified that he followed a scripted interview process

used for immigrant booking .              He also told Patel that any statements must be made

voluntarily. When asked if Patel wanted to answer Agent McCormack ' s questions, Patel

expressed a willingness to do so . Agent McCormack did not interview Patel in an

environment that was unusually intimidating or coercive.

          Further, the evidence indicates that Patel understood the nature and consequences

of his decision . According to Agent McCormack' s testimony , Patel told him that he could

read and write English . Patel's English competency is bolstered by his approximate six

years of residency in the United States and his work in a Savannah , Georgia convenience

store .    Agent McCormack testified that he did not have difficulty understanding or

communicating with Patel . Throughout the interview , Patel never indicated that he did not

understand Agent McCormack' s questions . In fact , when Agent McCormack asked Patel i f


" Other circuits have elaborated upon the impact of language on Miranda waivers . See, e.g ., Companeria v .
Reid , 891 F .2d 1014, 1020 (2nd Cir . 1989) (" [e]ven though [defendant's] proficiency in the English language
may have been limited, it did not prevent him from making a knowing and intelligent waiver of his constitutional
rights ."); United States v . Bernard S . , 795 F .2d 749 ( 9th Cir. 1986) (finding a sufficient waiver of Miranda rights
by a Native American with limited English skills) . But see, etc ., United States v . Heredia-Fernandez, 756 F .2d
1412, 1415 (9th Cir . 1985) ("language difficulties may impair the ability of a person in custody to waive
[Miranda rights in a free and aware manner.") ; United States v . Short , 790 F .2d 464, 469 (6th Cir. 1986)
(holding defendant's language difficulties and lack of understanding regarding the United States criminal justice
system rendered her waiver of Miranda rights invalid) .

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he understood his Miranda rights, he responded affirmatively . Had Patel not understood

Agent McCormack's questions, interpreters were available to assist him, but none were

necessary . Patel's brief answers to several of Agent McCormack's questions were

appropriate and did not require further elaboration . Although Agent McCormack did not have

personal knowledge of Patel's former village in India or his formal English education, his

thirteen years of experience questioning similarly situated Indian immigrants lends credibility

to his testimony . Based on the totality of circumstances, Patel made a voluntary, knowing,

and intelligent, waiver of his Miranda rights . See Moran , 475 U .S . at 421, 106 S. Ct. at 1140-

41 . Accordingly, Patel's Supplemental Motion to Suppress should be denied .

                                        CONCLUSIO N

       Based on the foregoing, it is my RECOMMENDATION that Defendant's Supplementa l

Motion to Suppress (Doc . No . 75) be DENIED .

       So REPORTED and RECOMMENDED , this 2J day of October, 2005 .




                                                    AMES E . GRAHAM
                                                   UNITED STATES MAGISTRATE JUDG E




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